                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

PATRICK UDOEWA, individually and on
behalf of all others similarly situated,

          Plaintiff,

v.
                                                      Civil Action 3:18-cv-000535

ETTAIN GROUP, INC.,

          Defendant.


       PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS UNOPPOSED
      MOTION FOR APPROVAL OF SETTLEMENT OF FLSA COLLECTIVE ACTION

 I.        INTRODUCTION

           Named Plaintiff1 Patrick Udoewa (“Plaintiff”), individually and on behalf of all others

similarly situated, and Defendant Ettain Group, Inc. (“Defendant” or “Ettain”) (together, the

“Parties”) have agreed to resolve the above-captioned lawsuit on a collective basis under the Fair

 Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

           The settlement satisfies the criteria for approval of a FLSA collective action settlement, as

it resolves a bona fide dispute, was reached after contested litigation, and was the result of arm’s-

length settlement negotiations between counsel. Accordingly, Plaintiff seeks, and Defendant does

not oppose, court approval of the Settlement Agreement and Release reached in this action (the

“Settlement Agreement”) attached as Exhibit 1 to the Declaration of Ryan F. Stephan, filed in

support of Plaintiff’s Unopposed Motion for Approval of Settlement (“Stephan Decl.”)2. For the


 1
   All capitalized terms are defined in the Settlement Agreement and Release. See Settlement Agreement,
 ¶ 10 et seq.
 2
     Unless otherwise indicated, all exhibits are attached to the Stephan Declaration.
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Court’s convenience, a Proposed Approval Order is also attached to the Stephan Decl. as Exhibit

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II.    FACTUAL AND PROCEDURAL BACKGROUND

       Named Plaintiff worked for Defendant as a Trainer, providing training and support services

to medical facilities in connection with the implementation and administration of integrated health

computer systems and related software. Plaintiff was compensated on an hourly basis, and received

straight time pay for all hours worked, including those in excess of 40 in a workweek. Plaintiff

filed his Collective Action Complaint (“Compl.”) on October 3, 2018, alleging that Defendant

violated the FLSA by knowingly suffering and/or permitting Plaintiff and others similarly situated

to work in excess of 40 hours per week without properly compensating them at an overtime

premium rate for these overtime hours. Compl. at ¶ 1. Specifically, Plaintiff alleges that he and

others similarly situated were paid straight time for all hours they worked, including all overtime

hours worked each week in excess of 40 hours per week, rather than one and one-half times their

regular rate of pay as required by the FLSA. Id. at ¶¶ 12-13. Defendant filed an Answer on

December 10, 2018.        Defendant denies any liability for alleged failure to pay overtime

compensation under the FLSA, including that Plaintiff and others similarly situated were properly

compensated pursuant to the computer professional exemptions to the FLSA’s overtime pay

requirements, denies that collective action treatment would be appropriate in litigation and disputes

the claims asserted in the Lawsuit.

       On December 10, 2018, the Court entered a Notice instructing the Parties to conduct an

Initial Attorney’s Conference by December 25, 2018. On December 20, 2018, the Parties

participated in an initial scheduling conference. Mindful of the costs associated with litigation, the

Parties agreed to work together to explore the possibility of an early resolution of the matter.



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Thereafter, the Parties collected and exchanged informal pre-discovery information and

documentation to facilitate their settlement discussions, including electronic time and pay records

for the potential collective.   As a result of several months of settlement discussions and

negotiations, the Parties have agreed to settle the Lawsuit, the final terms of which are

memorialized in the Settlement Agreement and Release. See Settlement Agreement.

III.    SUMMARY OF THE SETTLEMENT TERMS

        The Settlement Agreement provides that the case will be certified as a collective action

pursuant to 29 U.S.C. §216(b) for settlement purposes only, and establishes a settlement fund of

$180,000.00 (“Gross Settlement Amount”) from which Plaintiff and Settlement Collective

Members may claim a settlement award. See Settlement Agreement at ¶ 10(j). The Gross

Settlement Amount means the maximum amount that Defendant will pay in connection with the

settlement, including Court-approved attorneys’ fees and costs, settlement administration costs,

and a service award to Named Plaintiff. Id. All Settlement Collective Members shall receive a

settlement award based on the following formula:

               (i)     $25.00 will be allocated to each Settlement Collective Member,
                       prior to the determination of pro rata individual settlement shares;

               (ii)    The Net Settlement Amount, less $25.00 per Settlement Collective
                       Member, will then be divided by the total number of hours over forty
                       (40) worked by all Settlement Collective Members, to determine a
                       dollar amount per overtime hour (“Overtime Hour Value”);

               (iii)   Each Settlement Collective Member will receive a pro rata portion
                       of the Net Settlement Amount that is then determined by multiplying
                       his/her total overtime hours worked by the Overtime Hour Value.

Id. at ¶ 26.

        The Settlement Collective Members eligible to receive a settlement award are the Named

Plaintiff and all persons who worked for the Defendant as a Trainer or Go-Live as set forth in the



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Complaint in the Lawsuit from December 21, 2015 to the present, compensated on an hourly basis,

and who worked more than forty (40) hours in a workweek for which they did not receive overtime

pay at a rate of one and one-half their regular rate. Id. at ¶ 10(y). Defendant represents there are a

total of forty-three (43) Settlement Collective Members at issue in this Lawsuit. Id.

       Following Court approval, the Settlement Administrator will mail the Notice of Collective

Action Settlement (“Settlement Notice”), attached as Exhibit 3, to all Settlement Collective

Members, along with Settlement Award checks that will include, on the back, a Check Opt-In

Form. Id. at ¶¶ 10(c), (aa). Settlement Collective Members will have one hundred and twenty (120)

calendar days to cash his or her Settlement Award check, from the date it is first issued. Id. at ¶

10(d). On and after the Check Void Date, any uncashed Settlement Award check will be deemed

void and of no further force and effect, and shall revert to Defendant. Id. Only those Settlement

Collective Members who timely cash a Settlement Award check, and whose Check Opt-In Form

is unaltered and deemed sufficient after reverse positive pay services by the Settlement

Administrator, will be deemed “Participating Collective Members” and will be bound by the terms

of the Settlement Agreement and Release. Id. at ¶¶ 10(p), 12-13.

       Subject to the approval of the Court, the Parties agreed to retain Atticus Administration to

serve as the Settlement Administrator. See Settlement Agreement at ¶ 10(w). The Settlement

Administration Costs are estimated to be $6,000.00 and will be paid from the Gross Settlement

Amount. Id. at ¶ 24. Pursuant to the Settlement Agreement and subject to the approval of the Court,

Named Plaintiff requests, and Defendant does not oppose, a service award in the amount of

$10,000.00 in recognition of his assistance rendered in obtaining the settlement for the collective

and the risks he undertook to do so. Id. at ¶ 23(a). Finally, pursuant to the Settlement Agreement

and subject to the approval of the Court, Named Plaintiff requests, and Defendant does not oppose,



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an award of one-third (1/3) of the Gross Settlement Amount for attorneys’ fees, or $60,000.00,

plus reimbursement of reasonable out-of-pocket costs in the amount of $1,500.00, incurred in

litigating this case and achieving a substantial settlement on behalf of Plaintiff and the Settlement

Collective Members. Id. at ¶ 23(b)(i).

IV.    ARGUMENT

       A.      Applicable Legal Standard for Approval of FLSA Settlements

       As an initial matter, claims for FLSA violations can only be settled if the settlement is

approved by the Department of Labor (DOL) or a court. Taylor v. Progress Energy, Inc., 415 F.3d

364 (4th Cir. 2005). The standard for approval of an action arising under the FLSA requires only a

determination that the proposed settlement is “fair and reasonable.” McNeil v. Faneuil, Inc., No.

4:15cv81, 2017 WL 5711439, at *3 (E.D. Va. Sept. 25, 2017) (quoting Lynn’s Food Stores, Inc.

v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982)). Courts approve FLSA settlements when

they are reached as a result of contested litigation to resolve “bona fide disputes”. Id.; See also

Lomascolo v. Parsons Brinckerhoff, Inc., No. 1:08cv1310, 2009 WL 3094955, at *8 (E.D. Va.

Sept. 28, 2009); Boone v. City of Suffolk, 79 F. Supp. 2d 603, 605 (E.D. Va. 1999). “If a proposed

settlement reflects a reasonable compromise over issues actually in dispute, then approval by a

district court promotes the policy of encouraging settlement of litigation.” Lomascolo, 2009 WL

3094955 at *8 (quoting Lynn’s Food Stores, 679 F.2d at 1354).

       B.      The Settlement Agreement Is Fair and Reasonable, and Should Be Approved

       In evaluating a proposed settlement of FLSA claims as being fair and reasonable, courts in

this Circuit apply the six-factor test articulated in LaFleur, which considers: (1) the extent of

discovery that has taken place; (2) the stage of the proceedings, including the complexity, expense

and likely duration of the litigation; (3) the absence of fraud or collusion in the settlement; (4) the



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experience of counsel who have represented the plaintiffs; (5) the probability of plaintiffs’ success

on the merits; and (6) the amount of the settlement in relation to the potential recovery. LaFleur

v. Dollar Tree Stores, Inc., 189 F. Supp. 3d 588, 593 (E.D. Va. 2016) (citations omitted).

               1. The Settlement Is Supported by Sufficient Informal Discovery and By the
                  Stage of The Proceedings (First and Second Factors)

       The parties conducted sufficient informal discovery before reaching the proposed

settlement. After extensive investigation and due diligence, the parties voluntarily entered their

settlement discussions based upon the collection and exchange of pre-discovery information and

documentation, including electronic time and pay records for the potential collective, which Class

Counsel reviewed and analyzed thoroughly. See Settlement Agreement at ¶ 3. As a result of

extensive settlement discussions and negotiations over several months, the Parties agreed to settle

the Lawsuit per the terms in the Settlement Agreement. Based on these notions, “it is clear that the

Parties had adequate time to conduct sufficient discovery to ‘fairly evaluate the liability and

financial aspects of [the] case.’” Lomascolo, 2009 WL 3094955, at *11 (quoting in re A.H. Robins

Co., 88 B.R. 755, 760 (E.D. Va. 1988)).

       “The stage of the proceedings, including the complexity, expense, and likely duration of

the litigation, weighs in favor of finding that the settlement is fair and reasonable.” McNeil, 2017

WL 5711439, at *4. The Settlement Award payments are being made available at an early stage

of the litigation, taking into account the fact that a bona fide dispute exists as to whether Plaintiff

and the Settlement Collective Members were improperly compensated. Importantly, the

Settlement Agreement provides for immediate payment to the Settlement Collective Members, as

Settlement checks will be mailed with the Settlement Notice. Without the Settlement Agreement,

the statute of limitations would continue to run on Plaintiff’s and Settlement Collective

Members’ claims, diminishing the range of possible recovery each day. Accordingly, both Parties

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recognize that “these proceedings advanced to a stage sufficient to permit the Parties and their

counsel to obtain and review evidence, to evaluate their claims and defenses and to engage in

informed arm’s length negotiations with the understanding that it would be a difficult and costly

undertaking to proceed to trial.” Lomascolo, 2009 WL 3094955, at *11.

       Defendant is willing to enter this settlement and forego continued litigation over significant

disputed issues of law and fact in order to avoid further costs and disruptions associated with

continued litigation. On the other hand, Plaintiff, on behalf of himself and the collective, is willing

to resolve his claims for less than he might otherwise receive at trial, because it affords a

guaranteed payment and will avoid the uncertainty of a conditional certification motion, a

summary judgment motion, decertification, the possibility of counterclaims, and/or trial. Though

Plaintiff is confident he would prevail on certification and the merits of his claims, Defendant is

also prepared to defend this case, namely by asserting defenses to liability and disputing that

Plaintiff’s claims are appropriate for FLSA conditional certification. Accordingly, Plaintiff

believes that the settlement achieved at this stage is an excellent result for him and the Settlement

Collective Members that provides immediate compensation without years of protracted litigation

and delay, when taking into account the Parties’ respective positions.

               2. The Settlement Agreement was Reached Through the Diligent Efforts of
                  Experienced Counsel, Without Any Possibility of Fraud or Collusion
                  (Third and Fourth Factors)

       “In the absence of any evidence to the contrary”, a presumption of fairness arises where a

settlement was reached in arm’s-length negotiations between capable, experienced counsel after

significant exchange of information. Winingear v. City of Norfolk, No. 2:12cv569, 2014 WL

3500996, at *3 (E.D. Va. July 14, 2014). Here, there is no such evidence of fraud or collusion

present with respect to the Parties’ Settlement Agreement, and as such this factor favors the finding



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of a fair and reasonable settlement. The settlement terms were reached in an adversarial proceeding

through arm’s length negotiations between capable attorneys who have extensive experience with

wage and hour claims, and the terms were reached only after Plaintiff’s Counsel engaged in

significant investigation and due diligence regarding the facts of the case and the merits of

Plaintiff’s and punitive collective members’ claims, and their likelihood of success at trial, as well

as Defendant’s potentially and likely defenses. Stephan Decl. at ¶ X. There can be no doubt that

the Parties’ were well-informed about the strengths and weaknesses of their respective positions,

especially considering both Plaintiff’s Counsel’s and Defendant’s Counsel’s experience at

handling similar claims involving FLSA violations. Id. at ¶ X. In the end, experienced counsel on

both sides of the matter deemed the settlement fair and reasonable, and as such, warrants approval.

See Howell v. Dolgencorp, Inc., No. 2:09-CV-41, 2011 WL 121912, at *2-3 (N.D. W.Va. Jan. 13,

2011).

                3. The Settlement Represents Adequate Potential Recovery for Plaintiff and

                    Collective Members’ Claims, and Is Supported by the Probability of

                    Plaintiff’s Success on The Merits (Fifth and Sixth Factors)


         Plaintiff claims that Defendant failed to pay him and other similarly-situated individuals

proper overtime compensation for hours worked over forty (40) in a workweek. See generally

Compl. Plaintiff, on behalf of himself and punitive collective members, sought compensation for

unpaid overtime, liquidated damages, interests and attorneys’ fees and costs. The recovery here is

excellent given the range of potential recovery and the assumptions used in calculating Plaintiff’s

and Settlement Collective Members’ damages.

         Here, the Gross Settlement Amount of $180,000.00 provides Settlement Collective

Members with a more than 100% recovery for unpaid overtime compensation, and was negotiated

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after Plaintiff’s Counsel’s substantial investigation, review and analysis of electronic timekeeping

and payroll data provided by Defendant prior to agreeing on this settlement. Stephan Decl. at ¶ X.

The Gross Settlement Amount is based on an analysis of actual overtime hours worked by the

Settlement Collective Members, as determined by Defendant’s records to be 4,499.5 total overtime

hours, and which, were paid at an average straight-time rate of $51.87 for all hours worked during

the relevant time period. Id. at ¶ X. Each Settlement Collective Members’ individual settlement

award is based on the actual overtime hours s/he worked, so that individuals who worked more

overtime during the relevant time period will receive a larger award compared to those who worked

fewer hours. Id. at ¶ X; See also Settlement Agreement ¶ 26(c). Using the data provided, Plaintiff’s

Counsel were able to calculate the maximum, unliquidated half-time overtime compensation

amounts owed to putative collective members during the relevant time period as totaling

approximately $118,521.75. Id. at ¶ X.

       In light of the uncertainties relative to the risks of continued litigation, particularly

establishing liability and obtaining and maintaining collective action certification, as well as the

Parties’ desire to avoid future legal proceedings, the settlement here, reached through arm’s-length

negotiations between experienced counsel, represents a significant and immediate recovery for

Plaintiff and Settlement Collective Members. See e.g., Garcia v. Decalo Med. Group, LLC, No.

MAB 14-CV-00301, 2015 WL 9311984, at *7 (D.Md. Dec. 23, 2015) (approved settlement of

approximately 32% of maximum potential recovery); see also Edelen v. Am. Residential Servs.,

LLC, No. DKC 11-2744, 2013 WL 386986 (D. Md. July 22, 2013) (same); Rossi v. Circle

Treatment Ctr., P.C., No. 14-3803-GJH, 2015 WL 1815501, at *3 (D.Md. April 17, 2015)

(settlement represents approximately 34% of potential maximum recovery). Accordingly, these

factors support approval of the Parties’ Settlement Agreement as fair and reasonable.



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               4. The Notice of Settlement Sufficiently Notifies Collective Members of Their
                  Rights Under the Settlement

       The Court should also approve the proposed Notice of Settlement, which sufficiently

informs Settlement Collective Members of the nature of the Litigation and terms of the Settlement

Agreement, their individual Settlement Awards, the scope of the Released Claims, the payment of

Attorneys’ Fees and Litigation Costs, and how they may opt-in to or not opt-in to the settlement

by cashing or not cashing an enclosed settlement check. See Cerrato v. Alliance Material

Handling, Inc., No. WDQ-13-2774, 2014 WL 1779823, at *6 (D. Md. April 30, 2014) (approving

collective notice that, inter alia, described settlement terms and fee allocation).

       C.      The Service Award to Named Plaintiff Is Justified and Should Be Approved

       Pursuant to the Parties’ Settlement Agreement and subject to the approval of the Court,

Defendant has agreed to provide the Named Plaintiff, Patrick Udoewa, with a Service Award

payment in the amount of $10,000.00 for his significant contributions to the prosecution and

reasonable resolution of the lawsuit. See Settlement Agreement, ¶ 23(a). Courts routinely approve

incentive awards to compensate named plaintiffs for “…the actions taken by the plaintiffs to

protect the interests of the settlement class, the degree to which the settlement class has benefited

from those actions, and the amount of time and effort plaintiffs have expended in pursuing

litigation.” Speaks v. U.S. Tobacco Coo., No. 5:12-CV-729-D, 2018 WL 988083, at *9 (E.D.N.C.

Feb. 20, 2018) (citing Kirven v. Cent. States Health & Life Co. of Omaha, No. 3:11-2149-MBS,

2015 WL 1314086, at *13-14 (D.S.C. Mar. 23, 2015). It is particularly appropriate to compensate

named plaintiffs with incentive awards where they have actively assisted counsel in the

prosecution of the litigation for the benefit of a class and/or collective. Speaks, 2018 WL 98883,

at *9 (citing Kruger v. Novant Health, Inc., No. 1:12CV208, 2016 WL 6769066, at *6 (M.D.N.C.




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Sept. 29, 2016) (“Thus, an incentive award of $10,000 for the class representatives is reasonable

given their contributions to the case.”).

       Here, the role of the Named Plaintiff was crucial. He sacrificed his time to prosecute this

action on behalf of his fellow current and former workers, and he routinely conferred and

corresponded with Counsel on a regular basis, staying abreast of current pleadings, and settlement-

related informal discovery. Moreover, Plaintiff took a significant risk in representing the interests

of his fellow workers, including potentially risking his reputation in his field of employment by

prosecuting this case on behalf of the collective. See Speaks, 2018 WL 988083, at *9 (noting that

“without incentive awards, the class representatives would not be rewarded for their participation

or for the risk of pursuing this action with no promise of a successful outcome.”); Kay Co. v.

Equitable Prod. Co., 749 F. Supp. 2d 455, 472 (S.D. W. Va. Nov. 5, 2010) (noting that “serving

as a class representative is a burdensome task and it is true that without class representatives, the

entire class would receive nothing.”).

       Finally, the Service Award payment of $10,000.00 is consistent with those approved in

similar wage and hour collective actions within this Circuit. See Kay Co., 749 F. Supp. 2d at 473

(in FLSA collective action, awarding $15,000 service awards to each Class Representative);

Speaks, 2018 WL 988083, at *8 (approving service awards of $10,000 to each plaintiff); Savani v.

URS Prof’l Solutions LLC, 121 F. Supp. 3d 564, 577 (D.S.C. 2015) (approving service award of

$15,000 for class representative). For all of these reasons, the Service Award payment of

$10,000.00 to Named Plaintiff Patrick Udoewa should be approved as fair and reasonable.

       D.      Attorneys’ Fees and Reasonable Litigation Costs Should Be Approved

       As an initial matter, the FLSA allows for a plaintiff to recover his or her attorneys’ fees

and expenses under the statute’s fee-shifting provisions. See 29 U.S.C. § 216(b) (“The court in



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such action shall, in addition to any judgment awarded to plaintiff or plaintiffs, allow a reasonable

attorney’s fee to be paid by the defendant, and costs of the action.”). The Supreme Court has

recognized the “common fund” exception to the general rule that a litigant bears his/her own

attorney’s fees in Trustees v. Greenough, 105 U.S. 527 (1881). The Supreme Court went on to

explain the rationale for the common fund principle, stating “that a litigant or a lawyer who

recovers a common fund for the benefit of persons other than himself or his client is entitled to a

reasonable attorney’s fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472,

478 (1980). While Courts may approve an attorney’s fee on the basis of either a lodestar calculation

or a percentage of the common fund method, the trend in this Circuit is to use the percentage of

the common fund method in common fund cases, such as this one. Savani, 121 F. Supp. 3d at 568;

Goldenberg v. Marriott PLP Corp., 33 F. Supp. 2d 434, 438 (D. Md. 1998) (noting endorsement

of percentage-of-recovery method by several courts in the 4th Circuit); Strang v. JHM Mortgage

Sec. Ltd. P’ship, 890 F. Supp. 499, 503 (E.D. Va. 1995) (“the percentage method is more efficient

and less burdensome than the traditional lodestar method, and offers a more reasonable measure

of compensation for common fund cases”). Generally, courts use the lodestar method as a “cross

check” to the percentage method and do not scrutinize the fee records as rigorously. Savani, 121

F. Supp. 3d at 575; Kirven v. Central States Health & Life Co. of Omaha, No. 3:11-2149-MBS,

2015 WL 1314086, at *12 (D.S.C. Mar. 23, 2015) (district court case within the Fourth Circuit

that use the lodestar method as a cross-check to ensure the percentage of fund method award is fair

a reasonable).

       Moreover, the percentage method is also largely preferred because it “operates similarly to

a contingency fee arrangement in that the attorneys receive a percentage of the final monetary

value obtained for their clients.” Jones v. Fominion Res. Servs., 601 F. Supp. 2d 756, 758 (S.D.



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W. Va. 2009). This is due to the tailoring effect of the percentage fund method, where the

attorneys’ award is tied to the overall achieved result rather than a sum of billed hours by the

attorneys. Id. at 759 (“the percentage method better aligns the interests of the class counsel and

class members”). The Lodestar calculation does just the opposite, opening up the possibility for

class counsel to “…draw out cases in an effort to increase the number of hours used to calculate

their fees.” Id.; In re MicroStrategy, Inc. Sec. Litig, 172 F. Supp. 2d 778, 787 (E.D. Va. 2001).

                       1.      The Requested Fee is Reasonable Under the Percentage-of-
                               Recovery Method

       Plaintiff’s Counsel request, and Defendant does not oppose, a contingency fee of one-third

of the Gross Settlement Amount, or $60,000.00 plus costs in the amount of $1,500.00. This

allocation is consistent with other attorneys’ fee awards commonly accepted within the Fourth

District in FLSA settlements. See e.g., Smith v. Krispy Kreme Doughnut Corp., No. 1:05CV00187,

2007 WL 119157, at *2 (M.D.N.C. 2007) (“In this jurisdiction, contingent fees of one-third…are

common.”); Kirkpatrick v. Cardinal Innovations Healthcare Sols., 352 F. Supp. 2d 499, 506

(M.D.N.C. 2018) (“the attorneys’ fees award in similar cases factor weighs in favor of approving

the settlement because fee awards of one-third of the common fund are common in FLSA cases”);

DeWitt v. Darlington County, S.C., No. 4:1-cv-00740-RBH, 2013 WL 6408371, at *9 (D.S.C. Dec.

6, 2013) (collecting FLSA cases where courts approved attorney fees of one-third of the recovery).

       The Gross Settlement Amount, which provides Settlement Collective Members with

immediate recovery of damages for their FLSA claims, was carefully negotiated based on

Plaintiff’s Counsel prior experience litigating similar cases involving healthcare workers, as well

as Plaintiff’s Counsel’s substantial investigation into the facts and law of this case, and the review

and analysis of documents and data produced by Defendant in preparation for settlement

discussions. Stephan Decl. at ¶ X. Plaintiff’s Counsel are nationally recognized for their expertise

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in litigating complex class and collective actions, including wage and hour actions, and are

justified in seeking compensation in the form of one-third of any potential settlement, plus out-of-

pocket expenses, for their efforts. Id. at ¶ X. Before agreeing to take on this matter, Plaintiff’s

Counsel entered into a contingency agreement with Named Plaintiff, allowing Plaintiff’s Counsel

to request a reasonable percentage of the recovery as a contingency fee payment, plus out-of-

pocket expenses. Id. at ¶ X. Thus, Plaintiff’s Counsel undertook to prosecute this action without

any assurance of payment for their services, litigating this case on a wholly-contingent basis

despite the significant risk. Id. at ¶ X.

        Accordingly, the Attorneys’ Fee Award in the amount of $60,000.00, or one-third of the

gross settlement fund, is fair and reasonable in light of the services performed and the results

achieved, and should be approved.

                        2.      The Lodestar Cross-Check Confirms that the Requested Fee is
                                Justified

        The practice in the Fourth Circuit has been to apply the percentage method and loosely use

the lodestar method as a “baseline” or as a “cross check. E.G., In re Neustar, Inc. Sec. Litig., No.

1:14cv885, 2015 WL 8484438, at *7 (E.D. Va. Dec. 8, 2015) (characterizing the use of the lodestar

method as a cross-check for the percentage method as “the common practice within this Circuit”).

As part of the cross check, the lodestar is determined by multiplying the hours reasonably expended

on the case by a reasonable hourly rate. Id.

        Overall, Plaintiff’s Counsel expended at least 97.8 total hours prosecuting this case,

representing a total lodestar amount of at least $43,427.50. Stephan Decl. at ¶ X. Plaintiff’s

Counsels’ lodestar amount is based on the product of the reasonable hourly rates and reasonable

hours billed by the attorneys who worked on this case: Partner, Ryan F. Stephan ($675/hour);

Partner, Andrew C. Ficzko ($525/hour); Stephan Zouras legal staff ($175/hour). Id. at ¶ X. The

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rates used in calculating Plaintiff’s Counsels’ lodestar are similar and/or consistent with rates used

by courts in this District. Kirkpatrick, 352 F. Supp. 3d at 507 (“Counsel’s hourly rates fall within

what the court observes to be prevailing market rates in the relevant community for this type of

work”); Personhuballah v. Alcorn, 239 F. Supp. 2d 929, 948 (E.D. Va. 2017) (approving rates as

follows: $575 for senior partners, $390 to $40 for senior associates, and $310 to $345 for junior

associates) (vacated and remanded on other grounds).

         Moreover, for purposes of the crosscheck, these rates have been submitted to, and approved

by, other courts. For example, similar rates were approved for Stephan Zouras, LLP in

Bhattacharya et al. v. Capgemini North America, Inc., et al., Case No. 1:16-cv-07950 (N.D. Ill.

November 13, 2018); Reddick v. Symphony Diagnostic Services No. 1, Inc., Case No. 16-cv-9959

(N.D. Ill. July 11, 2017); Ivy v. Adventist Midwest Health, Case No. 1:16-cv-7606 (N.D. Ill.

November 14, 2018). Stephan Decl. at ¶ X.

         Overall, Plaintiff’s Counsel request a fee that is 1.38 times their lodestar amount. Their

lodestar is a reasonable estimate of the fees accrued to date because Plaintiffs’ Counsel compiled

it from contemporaneous time records and used billing judgment to account for overstaffing and

duplicative work. As such, Plaintiff’s Counsel’s request should be approved.

V.       CONCLUSION

         For the reasons stated herein, the Plaintiff respectfully requests that the Court grant this

Unopposed Motion for Approval of Settlement, and enter the accompanying proposed Approval

Order.



June 20, 2019                          Respectfully Submitted,

                                               /s/ Ryan F. Stephan
                                               Andrew C. Ficzko

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                              STEPHAN ZOURAS, LLP
                              100 North Riverside Plaza,
                              Suite 2150
                              Chicago, Illinois 60606
                              (312) 233 1550
                              rstephan@stephanzouras.com
                              aficzko@stephanzouras.com

                              ATTORNEYS FOR PLAINTIFF AND THE
                              SETTLEMENT COLLECTIVE MEMBERS




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                                 CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on June 20, 2019, I filed the attached with the Clerk of

the Court using the electronic filing system which will send such filing to all attorneys of record.




                                                                /s/ Ryan F. Stephan




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